             IN THE UNITED STATES DISTRICT COURT FOR THE
                  MIDDLE DISTRICT OF NORTH CAROLINA


United States of America,
                                             No. 12-cv-1349
                      Plaintiff;
        v.                                   UNITED STATES’ MOTION FOR
                                             SUMMARY JUDGMENT
Terry Johnson, in his official capacity as
Alamance County Sheriff,
                      Defendant.




                          Exhibit 1




  Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 1 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 2 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 3 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 4 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 5 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 6 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 7 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 8 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 9 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 10 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 11 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 12 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 13 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 14 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 15 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 16 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 17 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 18 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 19 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 20 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 21 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 22 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 23 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 24 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 25 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 26 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 27 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 28 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 29 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 30 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 31 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 32 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 33 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 34 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 35 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 36 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 37 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 38 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 39 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 40 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 41 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 42 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 43 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 44 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 45 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 46 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 47 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 48 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 49 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 50 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 51 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 52 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 53 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 54 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 55 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 56 of 57
Case 1:12-cv-01349-TDS-JLW Document 89-2 Filed 03/03/14 Page 57 of 57
